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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Tuesday Morning Corporation Case No. 20-31476
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

Bradford Capital Holdings, LP Artree (Xiamen) Group Ltd.

Name of Transferee Name of Transferor

Name and address where transferee payments Scheduled Claim Number: 482001050
should be sent: Scheduled Claim Amount: $66,397.36
c/o Bradford Capital Management, LLC Proof of Claim Number: 10113

PO Box 4353 Proof of Claim Amount: $66,397.36

Clifton, NJ 07012

Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmgmt.com

 

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 10/14/20
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

 
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